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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

Fultz & Son, Inc. Case No.: 3:17-cv-00053
Plaintiff, JUDGE DONALD C. NUGENT
Vv. STIPULATED PROTECTIVE ORDER

Browning-Ferris Industries of Ohio, Inc.

Defendant.

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1. Scope. All documents produced in the course of discovery, including initial
disclosures, all responses to discovery requests, all deposition testimony and exhibits,
and other electronically stored information or materials which may be subject to
restrictions on disclosure for good cause and information derived directly therefrom
(hereinafter collectively “documents”), shall be subject to this Order concerning
confidential information as set forth below. As there is a presumption in favor of open
and public judicial proceedings in the federal courts, this Order shall be strictly
construed in favor of public disclosure and open proceedings wherever possible. The
Order is also subject to the Local Rules of this District and the Federal Rules of Civil
Procedure on matters of procedure and calculation of time periods.

2. Form and Timing of Designation.
(a) Form. A party may designate a document as confidential and

restricted in disclosure under this Order by placing or affixing the words
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“CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS EYES ONLY” on the document in
a manner that will not interfere with the legibility of the document and that will permit
complete removal of the designation. Documents produced in native format may be
designated as CONFIDENTIAL or CONFIDENTIAL-ATTORNEYS EYES ONLY by
separate letter indicating the Bates numbers and designations of each document so
designated. Deposition testimony may be designated CONFIDENTIAL or
CONFIDENTIAL- ATTORNEYS EYES ONLY by making a statement so designating
specific portions of testimony or exhibits on the record or in writing and directing the
court reporter to mark the affected pages of the transcript.
(b) Timing.

(1) Initial Designation. Documents shall be initially designated
CONFIDENTIAL or CONFIDENTIAL-ATTORNEYS EYES ONLY prior to or at the time
of the production or disclosure of the documents. A statement designating testimony as
CONFIDENTIAL or CONFIDENTIAL-ATTORNEYS EYES ONLY shall be made at the
deposition or hearing, or within 30 days after receipt of a final transcript.

(2) Subsequent Designation. A party may designate any
document as CONFIDENTIAL or CONFIDENTIAL-ATTORNEYS EYES ONLY
subsequent to its first disclosure or production, provided that any such designation (i)
must be in writing; (ii) must specifically identify the document designated; and (iii) shall
only apply to the treatment and disclosure of such document after such written
designation is received. Such subsequent designation must be made within 30 days
of the confidential nature of the document coming to light, e.g., being marked in a

deposition or attached to an affidavit or filing with the Court. Where a subsequent
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designation is made, any party that previously received the document shall
immediately return or destroy copies of the document not bearing the “CONFIDENTIAL”
or “CONFIDENTIAL-ATTORNEYS EYES ONLY” stamp and shall make all reasonable
efforts to retrieve such document from any persons not authorized to hold it under this
Order.

3. Documents Which May be Designated CONFIDENTIAL or
CONFIDENTIAL-ATTORNEYS EYES ONLY.

(a) CONFIDENTIAL. Any party may designate documents as
CONFIDENTIAL upon making a good faith determination that the documents contain
information protected from disclosure by statute or that should be protected from
disclosure as confidential personal information, medical or psychiatric information, trade
secrets, personnel records, competitively sensitive business or technical information,
proprietary business methods or practices, and/or such other sensitive commercial
information that is not publicly available. Public records and other information or
documents that are publicly available may not be designated as CONFIDENTIAL.

(b) CONFIDENTIAL-ATTORNEYS EYES ONLY. Any party may
designate documents that meet the requirements of {| 3(a) as CONFIDENTIAL-
ATTORNEYS EYES ONLY upon making a good faith determination that the disclosure
of the documents to another party or non-party would create a heightened risk of harm
to the competitive, commercial, financial, or business position of the disclosing party.

4. Protection of Confidential Material.
(a) General Protections. Documents designated CONFIDENTIAL shall

not be used or disclosed by the parties, counsel for the parties, or any other persons
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identified in {| 4(b) for any purpose whatsoever other than to prepare for and to conduct
discovery and trial in this action, including any appeal thereof.

(b) Limited Third-Party Disclosures — CONFIDENTIAL Documents.
The parties and counsel for the parties shall not disclose or permit the disclosure of any
CONFIDENTIAL documents to any third persons except the following categories of
persons:

(1) Parties. Named parties in this litigation, and their officers,
directors, or employees assisting in the preparation and trial of this action or
proceeding;

(2) Counsel. Counsel for the parties, and employees and agents
of counsel who have responsibility for the preparation and trial of the action;

(3) Court. The Court, its officers, and court reporters providing
stenographic or video services in this litigation;

(4) Court Reporters and Recorders. Court reporters and
recorders engaged for depositions, but only after such persons have completed the
certification contained in Attachment A, Acknowledgement of Understanding and
Agreement to Be Bound;

(c) Limited Third-Party Disclosures — CONFIDENTIAL-ATTORNEYS’
EYES ONLY Documents. The parties and counsel for the parties shall not disclose or
permit the disclosure of any CONFIDENTIAL-ATTORNEYS’ EYES ONLY documents to
any persons except as set forth in [4(b)(2)-(4) and 4(b)(7), provided that if the individual
set forth in 9J4(b)(7) is an employee of one of the Parties, such individual shall sign the

acknowledgement contained in Attachment A before viewing any CONFIDENTIAL-
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ATTORNEYS EYES ONLY documents. If one of the Parties seeks to file any
CONFIDENTIAL-ATTORNEYS’ EYES ONLY document with the Court, it must be done
under seal. If a CONFIDENTIAL-ATTORNEYS’ EYES ONLY document is used with a
witness during a deposition or testimony at trial, only those individuals authorized under
this section may be present.

(5) Consultants, Investigators, and Experts. Consultants,
investigators, or experts employed by the parties or counsel for the parties to
assist in the preparation and trial of this action or proceeding, but only after such
Persons have completed the certification contained in Attachment A, Acknowledgment
of Understanding and Agreement to Be Bound;

(6) Mediators. Any special master, mediator, or arbitrator engaged
by the parties or authorized by the Court for purposes of mediation, arbitration, or other
dispute resolution regarding issues arising in this litigation;

(7) Witnesses. A witness in this litigation to whom disclosure is
reasonably necessary and who is not otherwise authorized to view the CONFIDENTIAL
information in question, during or in preparation for that witness’s testimony at a
deposition in the litigation, provided that if the individual is not an employee of the
Parties, then only after such witness executes a copy of the acknowledgment contained
in Attachment A or, alternatively, states affirmatively on the record in connection with
being shown CONFIDENTIAL information during the deposition that he or she consents
to the restrictions contained in this Stipulated Protective Order, a copy of which shall be

offered to the deponent;
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(8) Authors/Prior Recipients. An individual who, according to
the face of the designated documents, authored or received the confidential information,
provided that if the individual is not an employee of the Parties, then only after such
person has completed the certification contained in Attachment A, Acknowledgement of
Understanding and Agreement to Be Bound;

(9) Service Bureaus. Service bureaus engaged by counsel of
record to perform electronic discovery or clerical-type services in connection with this
litigation, such as electronic discovery services, photocopying, imaging, computer data
entry, clerical aids, trial preparation, and graphics firms, provided that such service
bureaus complete the certification contained in Attachment A, Acknowledgement of
Understanding and Agreement to Be Bound, or sign a contract of engagement with
enforceable confidentiality obligations that are substantially similar to those set forth in
Attachment A prior to receiving any confidential documents; and

(10) Others by Consent. Other persons only by written consent of
the designating party or upon order of the Court and on such conditions as may be
agreed or ordered, including a condition that such persons must execute the
certification contained in Attachment A, Acknowledgment of Understanding and
Agreement to Be Bound.

(c) Limited Third-Party Disclosures - CONFIDENTIAL-ATTORNEYS
EYES ONLY Documents. The parties and counsel for the parties shall not disclose
or permit the disclosure of any CONFIDENTIAL-ATTORNEYS EYES ONLY
documents to any persons except as set forth in | 4(b)(2)-(10), provided that if the

individual set forth in J] 4(b)(7)-(8) is an employee of one of the Parties, such individual
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shall sign the acknowledgement contained in Attachment A before viewing any
CONFIDENTIAL- ATTORNEYS EYES ONLY documents.

(d) Control of Documents. Counsel for the parties shall take reasonable
and appropriate measures to prevent unauthorized disclosure of documents designated
as CONFIDENTIAL or CONFIDENTIAL-ATTORNEYS EYES ONLY pursuant to the
terms of this Order. Counsel shall maintain the originals of the forms signed by persons
acknowledging their obligations under this Order for a period of one year after
the conclusion of this litigation by dismissal or entry of final judgment not subject to
further appeal.

(e) Copies. Prior to production to another person, all copies, electronic
images, duplicates, extracts, summaries or descriptions (hereinafter referred to
collectively as “copies”) of documents designated as CONFIDENTIAL or
CONFIDENTIAL-ATTORNEYS EYES ONLY under this Order, or any individual portion
of such a document, shall be affixed with the appropriate confidentiality designation if it
does not already appear on the copy. All such copies shall be entitled to the protection
of this Order. The term “copies” shall not include indices, electronic databases, or lists
of documents provided these indices, electronic databases, or lists do not contain
substantial portions or images of the text of confidential documents or otherwise
disclose the substance of the confidential information contained in those documents.

5. Filing of CONFIDENTIAL or CONFIDENTIAL-ATTORNEYS EYES ONLY
Documents Under Seal. The Court highly discourages the manual filing of any
pleadings or documents under seal. To the extent that a brief, memorandum or

pleading references any document marked as CONFIDENTIAL or CONFIDENTIAL-
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ATTORNEYS EYES ONLY, then the brief, memorandum or pleading shall refer the
Court to the particular exhibit filed under seal without disclosing the contents of any
confidential information.

(a) Before any document marked as CONFIDENTIAL or
CONFIDENTIAL- ATTORNEYS EYES ONLY is filed under seal with the Clerk,
the filing party shall first consult with the party that originally designated the
document as CONFIDENTIAL or CONFIDENTIAL-ATTORNEYS EYES ONLY
to determine whether, with the consent of that party, the document or a
redacted version of the document may be filed with the Court not under seal.

(b) Where agreement is not possible or adequate, any and all filings
made under seal shall be submitted electronically whenever possible and linked to
the relevant authorizing order, pursuant to Local Rule 5.2. If both redacted and
unredacted versions are being submitted for filing, each version shall be
clearly named so there is no confusion as to why there are two entries on the
docket for the same filing. See Electronic Filing Policies and Procedure Manual.

(c) If a sealed filing cannot be submitted electronically, before a
CONFIDENTIAL or CONFIDENTIAL-ATTORNEYS EYES ONLY document is
manually filed with the Clerk, it shall be placed in a sealed envelope marked
“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER DOCUMENTS",
displaying the case name, docket number, a designation of what the document is,
the name of the party in whose behalf it is submitted, and name of the attorney who

has filed the documents on the front of the envelope.
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(d) To the extent that it is necessary for a party to discuss the contents of
any confidential information in a written pleading, then such portion of the pleading
may be filed under seal with leave of Court. In such circumstances, counsel shall
prepare two versions of the pleadings, a public and a confidential version. The
public version shall contain a redaction of references to CONFIDENTIAL or
CONFIDENTIAL- ATTORNEYS EYES ONLY documents. The confidential version
shall be a full and complete version of the pleading and shall be filed with the Clerk
under seal as above.

(e) If the Court or a particular judicial officer has developed an alternative
method for the electronic filing of documents under seal, then the parties shall
follow this alternative method and shall not file any documents or pleadings
manually with the Clerk of Court.

6. Challenges by a Party to Designation. Any CONFIDENTIAL or
CONFIDENTIAL-ATTORNEYS EYES ONLY designation is subject to challenge by any
party or non-party with standing to object (hereafter the “objecting party”). Before filing
any motions or objections to a confidentiality designation with the Court, the objecting
party shall notify the designating party of such dispute in writing, identifying the
documents in dispute and the nature of the dispute. The designating party must
respond in writing within 14 days of service of the notification. If the parties are unable
to amicably resolve their dispute, the objecting party may, within 30 days of service of
the designating party’s response, file a motion with the Court seeking a ruling as to
whether the designated document should be treated as CONFIDENTIAL or

CONFIDENTIAL-ATTORNEYS EYES ONLY under this Order. If agreement is reached
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confirming or waiving the CONFIDENTIAL or CONFIDENTIAL-ATTORNEYS EYES
ONLY designation as to any documents subject to the objection, the designating party
shall serve on all parties a notice specifying the documents and the nature of the
agreement.

7. Breach of the Order. {t shall be the obligation of counsel, upon learning of
any breach or threatened breach of this Order by any person, to promptly notify counsel
for the designating parties of such breach or threatened breach. In the event of a
disclosure of any confidential documents to any person not authorized to receive such
documents under this Order, the party responsible for having made such disclosure,
and each party with knowledge thereof, shall promptly notify counsel for the
designating party and provide to such counsel all known relevant information
concerning the nature and circumstances of the disclosure. The party responsible for
the unauthorized disclosure shall also promptly undertake all reasonable best efforts to
retrieve the improperly disclosed documents and to ensure that no further or greater
unauthorized disclosure and/or use thereof is made.

8. Action by the Court. Applications to the Court for an order relating to any
documents designated CONFIDENTIAL or CONFIDENTIAL-ATTORNEYS EYES
ONLY shall be by motion under Local Rule 7.1 and any other procedures set forth in
the Initial Standing Order or other relevant orders. Nothing in this Order or any action
or agreement of a party under this Order limits the Court's power to make any orders
that may be appropriate with respect to the use and disclosure of any documents

produced for use in discovery or at trial.

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9. Use of Confidential Documents or Information at Trial. All trials are
open to the public. Absent order of the Court, there will be no restrictions on the use
of any document that may be introduced by any party during the trial. If a party
intends to present at trial CONFIDENTIAL or CONFIDENTIAL-ATTORNEYS EYES
ONLY documents or information derived therefrom, such party shall provide advance
notice to the other parties at least five (5) days before the commencement of trial by
identifying the documents or information at issue as specifically as possible (i.e., by
Bates number, page range, deposition transcript lines, etc.) without divulging the actual
CONFIDENTIAL or CONFIDENTIAL-ATTORNEYS EYES ONLY documents or
information. The Court may thereafter make such orders as are necessary to govern
the use of such documents or information at trial.

10. Obligations on Conclusion of Litigation.

(a) Order Remains in Effect. Unless otherwise agreed or ordered, this
Order shall remain in force after dismissal or entry of final judgment not subject to
further appeal.

(b) Return of CONFIDENTIAL or CONFIDENTIAL-ATTORNEYS EYES
ONLY Documents. Within 30 days after dismissal or entry of final judgment not
subject to further appeal, all documents treated as CONFIDENTIAL or
CONFIDENTIAL-ATTORNEYS EYES ONLY under this Order, including copies as
defined in 7] 4(e), shall be returned to the designating party unless: (1) the
document has been offered into evidence or filed without restriction as to
disclosure; (2) the parties agree to destruction in lieu of return; or (3) as to

documents bearing the notations, summations, or other mental impressions of

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the receiving party, that party elects to destroy the documents and certifies to the
designating party that it has done so. Notwithstanding the above requirements to
return or destroy documents, counsel may retain attorney work product, including
an index which refers or relates to information designated CONFIDENTIAL or
CONFIDENTIAL-ATTORNEYS EYES ONLY, so long as that work product does
not duplicate verbatim substantial portions of the text or images of confidential
documents. This work product shall continue to be protected under this Order.
An attorney may use his or her work product in a subsequent litigation provided that
its use does not disclose or use CONFIDENTIAL or CONFIDENTIAL- ATTORNEYS
EYES ONLY documents.

(c) Return of Documents Filed under Seal. After dismissal or entry of
final judgment not subject to further appeal, the Clerk may elect to return to
counsel for the parties or, after notice, destroy documents filed or offered at trial
under seal or otherwise restricted by the Court as to disclosure.

11. Order Subject to Modification. This Order shall be subject to
modification by the Court on its own motion or on motion of a party or any other person
with standing concerning the subject matter. Motions to modify this Order shall be
served and filed under Local Rule 7.1 and the Initial Standing Orders or other relevant
orders.

12. No Prior Judicial Determination. This Order is entered based on the
representations and agreements of the parties and for the purpose of facilitating
discovery. Nothing herein shall be construed or presented as a judicial determination

that any documents or information designated CONFIDENTIAL or CONFIDENTIAL-

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ATTORNEYS EYES ONLY by counsel or the parties is subject to protection under
Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the
Court may rule on a specific document or issue. Nothing in this Order shall be taken as
or constitute a waiver of attorney-client privilege, work- product protections, or other
applicable protections provided by law.

13. Rule 502(d) Order. The production or disclosure of an attorney-client,
work- product, or other privileged or protected document shall not be deemed a waiver
of the attorney-client privilege, work-product protection, or other protection or immunity
from discovery by the producing or protected party in this or any subsequent state or
federal proceeding pursuant to Federal Rule of Evidence 502 regardless of the
circumstances of disclosure. If any party becomes aware of the production or
disclosure of privileged or protected documents by any other party, that party shall
provide written notice to the producing or disclosing party of such production or

disclosure within 30 days of learning of the production or disclosure.

14. Asserting Attorney-Client Privilege or Work-Product Protection. Any
party may assert attorney-client, work-product, or other privilege or protection at any
time by notifying the other parties in writing.

(a) Where the Receiving Party Does Not Contest
Privilege/Protection. Promptly, and in any event no later than 14 days of
service of this written notice, the receiving party shall, to the extent it does not
contest the assertion of privilege or protection, certify in writing to the party
claiming privilege that the receiving party has returned or destroyed the

applicable documents and has made all reasonably diligent efforts to retrieve,

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identify, and destroy each copy thereof and all information derived therefrom. .

Normal reasonable diligence will not include disaster recovery media.

(b) Where the Receiving Party Contests Privilege/Protection.

Promptly, and in any event no later than 14 days of service of this written
notice, the receiving party shall, to the extent that it contests the assertion of
privilege or protection, notify the party claiming privilege to what extent the
receiving party contests the assertion of privilege or protection. The parties
thereafter shall meet and confer in good faith. If the contest is not resolved,
either party may move the Court for a ruling on the privileged or protected
nature of the document. However, the party challenging the assertion of
privilege or protection must protect the confidentiality of the contested document
and treat it as privileged pending resolution of the contest by the Court.

15. Persons Bound. This Order shall take effect when entered and shall be
binding upon all counsel and their law firms, the parties, and persons made subject to
this Order by its terms. Paragraph 13 of this Order is binding to the fullest extent
allowed by Fed. R. Evid. 502(d).

IT [I SO ORDERED
V5. [a
Dated: se} __, 2017 /s/DONALD C. NUGENT 8/01/17

HONORABLE DONALD C. NUGENT
UNITED STATES DISTRICT JUDGE

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Dated: July 31, 2017

WE SO STIPULATE
and agree to abide by the terms of this
Order

s/ Dennis E. Murray, Jr.

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s/ Adam J. Russ (per phone consent 7/31/17)

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

Fultz & Son, Inc. ) Case No.: 3:17-cv-00053
)
Plaintiff, ) JUDGE DONALD C. NUGENT
)
Vv. ) STIPULATED PROTECTIVE ORDER
) ATTACHMENT A ACKNOWLEDGMENT
Browning-Ferris Industries of Ohio, Inc. ) AND AGREEMENT TO BE BOUND
)
Defendant. )
)

The undersigned hereby acknowledges that he/she has read the Protective
Order dated July ___, 2017, in the above-captioned action and attached hereto,
understands the terms thereof, and agrees to be bound by its terms. The undersigned
submits to the jurisdiction of the United States District Court for the Northern District of
Ohio in matters relating to the Protective Order and understands that the terms of the
Protective Order obligate him/her to use documents designated CONFIDENTIAL or
CONFIDENTIAL-ATTORNEYS EYES ONLY in accordance with the Order solely for the
purposes of the above-captioned action, and not to disclose any such documents or

information derived directly therefrom to any other person, firm, or concern.
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The undersigned acknowledges that violation of the Protective Order may
result in penalties for contempt of court.

Name:

Job Title:

Employer:

Business Address:

Date:

Signature:

